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 5   Attorney for Defendant
     MICHAEL THOMPSON
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                                IN THE UNITED STATES DISTRICT COURT
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                               FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12 UNITED STATES OF AMERICA,                                    Cr. S-08-169 EJG
13                          Plaintiff,                          REQUEST FOR ORDER AND ORDER
                                                                TO EXONERATE PROPERTY BOND
14          vs.

15
     MICHAEL THOMPSON,
16
                            Defendant(s).                       Hon. Edward J. Garcia
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18
19          On July 23, 2010, Michael Thompson was sentenced to 120 months in the BOP custody. He
20   was remanded on that date to begin serving his sentence.
21          On March 31, 2008, the defendant was ordered released on a secured bond. It is hereby
22   requested that the bond, secured by a deed of trust, be exonerated, and that the Clerk by directed to
23   reconvey the real property to its owner.
24   Dated: July 26, 2010
25                                                        Respectfully submitted,
26
                                                          /s/ Hayes H. Gable, III
27                                                        HAYES H. GABLE, III
                                                          Attorney for Defendant
28                                                        MICHAEL THOMPSON


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 1                                                ORDER
 2             IT IS HEREBY ORDERED that the $170,000 bail secured by a deed of trust and
 3   appearance bond relating to the property at 2029 Del Rio Drive, Stockton, California, be exonerated.
 4             IT IS FURTHER ORDERED that the real property be reconveyed to Mrs. Raquel Acosta
 5   (Leos).
 6   Dated: July 28 , 2010
 7                                                        /s/ Edward J. Garcia
                                                          HON. EDWARD J. GARCIA
 8                                                        Senior U.S. District Court Judge
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